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                                                                                             FEB 0 2 2018
                                                                                                                  ;lerk
                     IN THE    UNITED STATES DISTRICT COURT F O R
                         THE NORTHERN DISTRICT OF GEORGIA                                                         Clerk
                                      ATLANTA DIVISION



                                                    )              MDL DoclcetNo.2800
In re: Equifax, Inc. Customer                       )              No.: l:17-md-2800-TWT
Data Security Breach Litigation                     )
                                                   )

                         APPLICATION OF JULIE BRAMAN KANE
                                   FOR APPOINTMENT TO
              PLAINTIFFS' STEERING COMMITTEE-CONSUMER TRACK


         Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure and the Court's January 10,

2018 Case Management Order No. 2 [D.E.       87], Plaintiff Jennifer Tweeddale respectfully moves

for the appointment of Julie Braman Kane of Colson Hicks Eidson to serve as a member of the

consumer track's Plaintiffs' Steering Committee.

    1.      INTRODUCTION


         Plaintiff submits that Julie Braman Kane and Colson Hicks Eidson are eminently qualified

to serve as a member of the Plaintiffs' Steering Committee in this matter. This is a significant

matter, an important matter, and a matter in which a large number of victims—many of whom are

vulnerable victims—have been damaged. As a result, a number of distinguished law firms and

experienced plaintiffs' attorneys have been involved in this case, and the Court has a number of

qualified firms and lawyers to choose from in designating a leadership structure for the plaintiff

class. Julie Braman Kane and Colson Hicks Eidson are among them and possess the requisite

experience, credentials and judgment to participate in the leadership of this action. Perhaps most

importantly, Colson Hicks Eidson prides itself on its reputation for working well with other

plaintiff firms in the complex class action and MDL     setting.
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        Colson Hicks Eidson and Julie Braman Kane will draw on their extensive experience in

prosecuting large, complex matters—ranging from data breach matters to products liability to

consumer frauds to fmancial frauds to mass accidents—^to litigate this action efficiently and

cooperatively with the other attorneys the Court selects for leadership positions.

        Although this is an important matter, Plaintiff respectfully suggests that the plaintiffs'

leadership structure should be kept relatively lean. There is a single principal defendant, and at the

outset the type of liability discovery that should be required would appear to be less extensive than

what is required in many complex class actions. Too large of a leadership structure can, of course,

lead to inefficiencies.    MANUAL FOR COMPLEX LITIGATION (FOURTH)           § 10.221 ("The functions

of lead counsel may be divided among several attorneys, but the number should not be so large as

to defeat the purpose of making such appointments.").

        In the spirit of the efficiency that Colson Hicks Eidson hopes to bring to the plaintiffs'

leadership in this matter, we will keep this application direct and to the point.

   IL      BACKGROUND

        Hundreds of actions have been filed against Equifax and have been transferred to this Court

as part of MDL No. 2800. Lhe proposed class consists of approximately 143 million individuals

nationwide, whose personal and financial information was compromised as a result of a massive

data breach of Equifax's database in May 2016 (the "Data Breach"). Although federal and state

laws require Equifax to protect and secure its customers' data, Equifax failed to comply with its

legal obligations to do so. In fact, the breach of its databases remained completely undetected by

Equifax until late July. Equifax eventually disclosed the breach over a month later.




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           On January 10, 2018, this Court ordered counsel interested in serving as Plaintiffs' Lead

Counsel, Plaintiffs' Steering Committee members, or Plaintiffs' Liaison Counsel to file an

application with the Court on or before February 2, 2018.

    III.       STANDARDS UNDER R U L E 2 3 ( G )


           Under Rule 23(g)(3), a court has discretion whether to appoint class counsel before class

certification. In cases where "multiple overlapping and duplicative class actions" are pending,

interim class counsel designation is "essential for efficient case management." In re Air Cargo

Shipping Services Antitrust Litig., 240 F.R.D. 56, 57 (E.D.N.Y. 2006). A court considering the

appointment of class counsel considers the following criteria:

           (i) the work counsel has done in identifying or investigating potential claims in the
           action; (ii) counsel's experience in handling class actions, other complex litigation,
           and the types of claims asserted in the action; (iii) counsel's loiowledge of the
           applicable law; and (iv) the resources that counsel will commit to representing the
           class.


Fed. R. Civ. P. 23(g)(1)(A). In appointing leadership positions, the Court should ensure that

designated counsel fairly and adequately represent the various interests in the litigation, including

through trial if necessary. See In re Disposable Contact Lens Antitrust Litig. ,2015 WL 10818781,

at *1 (M.D. Fla. 2015); Fed. R. Civ. P 23(g)(4).

    IV.       STANDARDS UNDER C A S E MANAGEMENT O R D E R NO. 1.


           Pursuant to the Court's Case Management Order 1 [D.E. 2], attorneys who apply for

leadership positions must have filed a civil action in this litigation. They must demonstrate

willingness and ability to commit to a time-consuming process; an ability to work cooperatively

with others; professional experience in this type of litigation; and access to sufficient resources to

advance the litigation in a timely manner.

           Julie Braman Kane and Colson Hicks Eidson meet each of these criteria.


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    V.        GROUNDS FOR APPOINTING J U L I E BRAMAN K A N E AND C O L S O N H I C K S EIDSON TO
              T H E PLAINTIFFS' S T E E R I N G C O M M I T T E E

         A.      Rule 23(g)

                  i.   Colson Hicks Eidson Has Undertaken Substantial Work to Identify and

                 Investigate Potential Claims in the Action.

         Colson Hicks Eidson has invested substantial time and effort investigating the facts and

potential claims in this action. Colson Hicks Eidson has teamed with attomey Douglas Beam,

Esq., of the Melbourne, Florida law firm Douglas R. Beam, P.A. to interview clients and others

affected by the Data Breach. Colson Hicks Eidson and Douglas R. Beam, P.A. combined have

conducted multiple interviews and are fully familiar with the details of the Data Breach and the

consequences to the victims. For example, class representative Jennifer Tweeddale has suffered

not just the theft of her personal and financial information but has also been the victim of

subsequent identity theft, including having credit cards and cell phone accounts fraudulently

opened and used in her name.

                 ii.   Colson Hicks Eidson has Substantial Experience in Leading the

                 Prosecution of Complex Class Actions.

         Colson Hicks Eidson (also referred to as "CHE") is a law firm with twenty lawyers

established in Miami, Florida in 1967 and dedicated to trial practice. Colson Hicks Eidson handles

a wide range of complex litigation, multidistrict class actions and mass action cases. Colson Hicks

Eidson is rated by Chambers USA as one of five "band one" classification firms in the State of

Florida. The widely-respected directory recognized Colson Hicks Eidson as "a premier practice

for plaintiff representation, with a deep bench of attomeys with enormous trial experience" and

noted the firm's significant expertise in class-action matters, including personal injury and product




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liability cases, with additional strengths in professional malpractice and white-collar crime

litigation.

        Colson Hicks Eidson attorneys have a long and successful track record of trying cases in

state and federal courts and are well-known to take cases to trial to achieve the best results for our

clients. Colson Hicks Eidson attorneys have tried more than 50 cases in which the verdict

exceeded one million dollars.

        The following are recent significant matters in which Colson Hicks Eidson attorneys are

currently serving, or have served, in a leadership role:

        •     21 Century Oncology Data Breach MDL, MDL'No.nSl (M.D. ¥h.): CHE partner
              Julie Braman Kane serves on the Plaintiffs' Steering Committee in the 21^ Century
              Oncology MDL, which involved a significant breach including identity theft, medical
              identity theft, and loss of privacy in patients' personal and health information.

        e     Takata Airbags Product Liability MDL, MDL No. 2599 (S.D. Fla.): CHE partner
              Curtis Miner serves as Personal Injury Track Lead Counsel in the Takata Airbag MDL,
              which involves defective airbags in automobiles that can rupture and explode causing
              serious injuries or death. This MDL arises out of the largest safety recall in U.S. history
              and involves complex issues of law and fact.

              Toyota Sudden Unintended Acceleration MDL, MDL No. 2151 (CD. Cal): CHE
              senior partner Mike Eidson served on the Plaintiffs' Liaison Committee for Personal
              InjuryAVrongfiil Death Cases in the Toyota Sudden Unintended Acceleration MDL,
              which involved allegations of sudden unintended acceleration in Toyota vehicles.

        ®     Oil Spill by the Oil Rig "Deepwater Horizon" in the Gulf of Mexico, on April 20,
              2010, MDL NO. 2179 (E.D. La.): CHE partner Ervin Gonzalez served on the Plaintiffs'
              Steering Committee in this MDL involving all private claims arising out of the BP Oil
              Spill in the Gulf of Mexico.

        e     Chinese-ManufacturedDrywallMDL, MDL No. 2047 (E.D. La.): CHE partner Patrick
              Montoya serves on the Plaintiffs' Steering Committee and the firm has served on the
              Executive Committee in this MDL involving economic damages claims against
              manufacturers of defective drywall.

        •     Bridgestone/Firestone Tires MDL, No. IP-00-9373-C-B/S (S.D. Ind.): From 2000 to
              2004, CHE senior partner Mike Eidson served as Plaintiffs' National Lead Co-Counsel,
              and from 2004 through 2008, as Lead Counsel of the Personal Injury Lrack, in the
              Bridgestone/Firestone Tires MDL, which involved accidents of Ford Explorers

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    following Firestone tire tread separations. This MDL consisted of more than 1000
    personal injury/wrongfiil death cases and more than 100 class action economic loss
    cases consolidated for core discovery, development of expert witnesses and other related
    matters.

    Nissan 3 5 OZ Class Action (Cal. Sup. Ct.): Consolidated economic damages class action
    against Nissan involving allegations of defective tires that wore out abnormally quickly
    in the Nissan 350Z sports car. CHE partner Curtis Miner was one of the Co-Lead
    Counsel to the class in this successfully resolved matter.

    "Willis Letters" Litigation (Stanford Financial Receivership) (N.D. Tex.): Mass
    action on behalf of dozens of investors arising out of the Stanford Financial Ponzi-
    scheme in which investors seek damages against insurance broker Willis based on letters
    used by Stanford to market its CD's. CHE partner Curtis Miner is co-lead counsel in
    the mass action.

    U.S. Sugar Corporation Litigation, Case No. 08-80101-Civ. (S.D. Fla.): Class action
    based on ERISA and other claims arising out of valuation of shares held by employees
    of U.S. Sugar Corporation. CHE partner Curtis Miner was Co-Lead Counsel to the class
    in this successfully resolved matter.

    SEC V. Mutual Benefits Corporation, Case No. 04-60573-Civ. (S.D. Fla.): CHE
    partner Roberto Martmez was the Court-appointed receiver for Mutual Benefits
    Corporation in connection with the SEC's prosecution of one of the largest Ponzi-
    type schemes in Florida history. CHE partners Curtis Miner and Julie Braman Kane
    served as counsel for the Receiver handling all offensive and defensive litigation
    resulting in successful recoveries of over $100 million in restitution for victim
    investors.

    Colson Hicks Eidson attomeys have represented Miami-Dade County physicians in
    class and individual cases involving failure by insurance companies to compensate
    physicians for work done in hospitals and have obtained settlements in excess of $50
    million.

    In 2005 the firm obtained a $60.9 million award, the largest amount ever awarded in
    a Federal Lort Claims Act case in the country. Federal District Court Judge Jose
    Gonzalez found the Obstetrics Clinic in Mayport Naval Station in Jacksonville, FL
    liable for medical negligence in the delivery of our client's baby.

    In 2006, a Miami jury awarded a $65.1 million verdict on behalf of our client against
    Eller Media Company for the electrocution death of the client's 12-year old son. The
    jury found that the death was caused by Eller Media employees' shoddy electrical
    work performed at a Miami bus shelter. As a result of this case, changes were made
    to bus shelters in Miami-Dade County making them much safer.
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•   In 2001 a Miami jury found for the plaintiff against Ford Motor Company for
    negligence in installing a wheel on a van that went out of control and crashed ejecting
    a 12-year-old child who was severely injured, and awarded $31 million. The jury
    found that the wheel cover was incorrectly installed in the factory causing the tire to
    suddenly blow out at highway speed resulting in a rollover accident and the child's
    injury. The full amount of the verdict was paid after Colson Hicks Eidson lawyers
    won an appeal from the verdict.

•    In 2008 the firm obtained a $ 16 million settlement on behalf of 4,000 workers at US
    Sugar Company arising out of a failed or missed opportunity to sell the company at
    a premium price. The workers at the company owned more than 60% of the company
    stock through their Employee Stock Ownership Plan yet, were not consulted when
    the offer was made to buy the company.

•   In 2002 the firm obtained a $20.5 million judgment in federal court in Miami against
    the government of Aruba on behalf of racecar promoter Ralph Sanchez in connection
    with the failed efforts to build a racetrack in Aruba.

•   In 2002, the firm obtained a federal court judgment in the amount of $16 million
    confirming an arbitration award against the Miccosukee Tribe of Indians arising out
    of a breach of contract regarding the Indian tribe's gambling operations. After several
    appeals to U.S. Circuit Court and attempts to gain jurisdiction in the U.S. Supreme
    Court the case was fully paid.

•   The firm served as co-lead counsel on behalf of the plaintiff class in the Premium
    Sales case, the largest mass fraud class case in South Florida history at the time. The
    case was settled after the start of the jury trial for $170 million.

•   Colson Hicks Eidson was involved in prosecuting over $100 million of claims
    involving engineering, architectural, and construction negligence arising out of the
    destruction caused during Hurricane Andrew.

•   The firm served as co-counsel in the litigation against the government of Cuba in the
    murders of four men who were shot down by the Cuban Air Force while flying a
    humanitarian mission for Brothers to the Rescue. That litigation resulted in a $188
    million judgment in federal court in Miami against the Cuban Government and its
    Air Force. After the passage of two laws through Congress, in 2002 the victims
    received about $100 million from assets of the Cuban Government frozen by the U.S.
    Department of the Treasury.

•   Colson Hicks Eidson acted as lead counsel and obtained a $100 million settlement in
    the grave desecration class action case brought against Menorah Gardens (Joan Light,
    et al., vs. SCI Funeral Services of Florida d/b/a Menorah Gardens & Funeral Chapels,
    etc.); Circuit Court of the 17* Judicial Circuit/Broward County, Florida Case No.
    CAGE 01-21376. This cause of action arose from the reuse of graves at the cemetery


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              owned and operated by the defendant and included, in addition to the cash payment,
              remedial measures with an estimated value of $10 million. Over 6,000 families were
              affected by defendant's intentional desecration of their loved ones' graves.


        In addition to the above litigation, Colson Hicks Eidson partners have significant

experience working with local, state and federal government officials and administrative agencies.

Also, Colson Hicks Eidson partners have represented government in both pro bono and civil

litigation including Leon County vs. Expedia, Inc. et al., in which the 17 cities and counties the

firm represented and sued seeking a declaratory judgment relating to Florida's transient rentals

tax-the tax levied on every hotel room in Florida (often referred to as a "bed tax.") The defendants

were the online travel companies that customers use to book rooms at hotels in Leon County and

throughout Florida.

                iii.   Julie Braman Kane and Colson Hicks Eidson have the Requisite

                 Knowledge and Expertise to Prosecute this Action.

       The Colson Hicks Eidson attorneys working on this case will include partners Julie Braman

Kane, Lewis S. "Mike" Eidson and Curtis B. Miner, each of whom have the knowledge and

expertise to prosecute this action.

       Ms. Kane has been a partner at CHE since 1999. She has obtained multimillion-dollar

verdicts and settlements in a variety of cases involving personal injury, medical malpractice, and

products liability. She has particular experience in exactly this kind of MDL litigation. Notably,

Ms. Kane serves on the Plaintiffs' Steering Committee for the        Century Oncology data breach

litigation, which involves a significant breach including identity theft, medical identity theft, and

loss of privacy in patients' personal and health information. Her practice also includes commercial

litigation and class actions. Ms. Kane is the immediate Past-President of the American Association

for Justice (formerly known as the Association of Trial Lawyers of America), the world's largest


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trial bar, and as such she has extraordinary relationships with plaintiffs' lawyers across the United

States. She has received a number of honors and awards including Best Lawyers in America;

Florida Super Lawyers; Florida Legal Elite; the Daily Business Review's Most Effective Lawyers

and Top Twenty Women in the Law; National Lrial Lawyers' Top 100 Trial Lawyers; and is a

Chambers USA Recognized Practitioner. Her complete biography is attached hereto as Exhibit A.

       Mr. Miner has been a partner at Colson Hicks Eidson since 2004. He represents plaintiffs

in a variety of consumer class actions, commercial litigations, and individual product liability

actions against automobile manufacturers, airplane manufacturers and consumer product

manufacturers. He has served in leadership positions in a number of complex, multidistrict matters,

including, most recently, as Personal Injury Track Lead Counsel in the Lakata Airbag MDL in the

Southern District of Florida. Prior to joining the firm, Mr. Miner served as an Assistant U.S.

Attorney in the Southern District of Florida where he handled several high profile public

corruption, police misconduct and national security matters. Mr. Miner has tried over two dozen

cases to conclusion in state and federal courts. He has received a number of honors and awards,

including Best Lawyers in America; Florida Super Lawyers; the Daily Business Review's Most

Effective Lawyers; and Chambers USA's Notable Practitioners.

       Mr. Eidson has been a partner at Colson Hicks Eidson since the 1970s. He represents

plaintiffs in a variety of consumer class actions, commercial litigations, and individual product

liability actions against automobile manufacturers, airplane manufacturers and consumer product

manufacturers. He has served in leadership positions in a number of complex, multidistrict matters.




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including, notably, as Co-lead Counsel and as Lead Personal Injury Counsel in the massive

Bridgestone/Firestone Lires Products Liability MDL in the Southern District of Indiana.

               iv.     Colson Hicks Eidson Will Commit the Resources Necessary to Prosecute

                this Action.

        Colson Hicks Eidson has sufficient resources, as well as a roster of talented attorneys and

capable professional staff, to prosecute this matter efficiently to settlement or trial. The best

evidence of CHE's ability to make a commitment of time and substantial human and financial

resources to this action is its participation in several of the most intensive MDLs over the past

several years, including having members appointed to the Plaintiffs' leadership structures in the

Lakata Airbag, Toyota Unintended Acceleration, BP Oil Spill and Chinese Drywall MDLs. In each

of these cases, the firm was expected to—and did—contribute substantially in attorney time and

in financial contributions for litigation costs. The firm's role in these cases demonstrates its ability

to provide the same sort of resources for this consolidated action.

       Additionally, the firm is technologically savvy, and uses technology to advance litigation

in an efficient and streamlined manner. These leadership attributes, and litigation skills, will be

brought to bear in the pending case.

       B.      Appointment of Colson Hicks Eidson Will Benefit the Prosecution of

Plaintiffs' Claims.

       Plaintiffs will benefit from a lean, streamlined approach to the prosecution of their claims,

led by lawyers with the requisite experience prosecuting complex cases and working closely and

effectively with co-counsel, as well as knowledge of data breach law and familiarity with the

Court's local rules.




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        Plaintiffs will also benefit from a leadership structure with experience in prosecuting data

breach cases and with the resources necessary to litigate this matter efficiently. In particular,

proposed Plaintiffs' Steering Committee member Julie Braman Kane is serving in leadership in

another data breach class action and will draw on that experience to prosecute this matter. Working

cooperatively - with lawyers well-loiown to work well with others - the leadership structure will

provide high-quality representation to the Plaintiffs.

                                         CONCLUSION

       For the foregoing reasons. Plaintiff Jennifer Tweeddale respectfully requests that the Court

appoint Julie Braman Kane and Colson Hicks Eidson to serve as a member of the Plaintiffs'

Steering Committee.

       Dated: February 2, 2018

                                              Respectfiilly submitted,

                                              COLSON H I C K S EIDSON, P.A.
                                              255 Alhambra Circle, Penthouse
                                              Coral Gables, Florida 33134
                                              Telephone: (305) 476.7400
                                              Facsimile: (305) 476.7444

                                              By:     s/ Julie Braman Kane
                                                       Julie Braman Kane
                                                       Florida Bar No. 980277
                                                       iulie@colson.com
                                                       Attorney for Plaintiff




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                                  Certificate of Service

I hereby certify that on the 2d of February, 2018, the foregoing document was hand-

delivered and filed w i t h the Clerk of the Court who w i l l file i t using the CM/ECF

system, which w i l l send email notification of such filing to all attorneys of record i n

this case.




                                                  /s/   Julie Braman   Kane

                                                Julie Braman Kane
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                     EXHIBIT "A
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J u l i e B r a m a n Kane has decades of experience successfully representing injured
plaintiffs i n high-level litigation. A partner of Colson Hicks Eidson since 1999, she
has secured multimillion-dollar verdicts and personal injury settlements, including a
$38 million verdict i n a medical malpractice and drug negligence case.



AV-rated t r i a l lawyer by Martindale-Hubbell, Julie focuses her practice on
representing plaintiffs i n personal injury, medical malpractice and product liability
lawsuits when harmed by the negligence of other individuals or corporations. Her
practice also includes commercial litigation and class actions as well as data breach
litigation, and she currently serves on the Plaintiffs' Steering Committee for the I n
Re: 21st Century Oncology Customer Data Security Breach Litigation.



She is committed to personal attention and works closely w i t h each of her clients to
inform and involve them i n every step of their case, assuring they receive the
highest quality representation possible.

Honors and Experience
A champion of civil justice, Julie is a past President of the American Association for
Justice (AAJ), the world's largest t r i a l bar and leading defender of civil justice. Her
commitment to protecting the right to t r i a l by jury is evident i n her more than 20
years of service w i t h the AAJ, where she has also served on the Executive Committee
and Board of Governors and has chaired its National Finance Council, Products
Liability Section, Women's Caucus and Diversity Task Force.
I n 2012, w i t h voter suppression legislation on the rise across America, Julie initiated
and chaired the Voter Protection Action Committee, AAJ's election protection
program that provides lawyers i n all f i f t y states to protect the rights of American
citizens whose access to the polls was limited. Furthermore, as chair, Kane was
instrumental i n placing A A J members across the country to ensure U.S. citizens'
voting rights were assured and their ballots were counted.
I n addition to her national service w i t h the AAJ, Julie has served as a Trustee and
Co-Chair of the National College of Advocates, on the Board of Directors for the
Florida Justice Association, as a Commissioner on the Florida Elections Commission
- to which she was appointed by then-Governor Charlie Crist - and as President of
the Miami-Dade Chapter of the Florida Association for Women Lawyers.
Julie has earned multiple accolades for her legal prowess, exemplary leadership to
the profession, and dedication to the community, consumers and the t r i a l bar. I n
2017, she was honored w i t h the University of Miami's Law A l u m n i Achievement
Award as well as Florida Justice Association's B.J. Masterson award, honoring
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someone epitomizing ethical professionalism i n her career of practicing law. I n 2015,
she received the Daily Business Review's Top Twenty Women i n Law Award. She is
also a past recipient of the Daily Business Review's Most Effective Lawyers Award
for receiverships, and she was a finalist i n the medical negligence litigation category.
She also received the South Florida Business Journal's Woman Extraordinaire
Award. Additionally, the A A J awarded Julie w i t h its prestigious Distinguished
Service Award, the Howard Twiggs Commitment to Justice Award; its Marie
Lambert Award for leadership; and its Joe Tonahill Award for legal excellence.
I n 2010, the University of Miami School of Law honored Julie w i t h the A l u m n i
Leadership Award, given to attorneys who have distinguished themselves i n their
careers and who serve as role models for the next generation.
A proud double Hurricane, Julie is a magna cum laude undergraduate and cum laude
graduate of the University of Miami School of Law.

Honors and Awards

  •   SuperLawyers, multiple years through the present
  •   Best Lawyers i n America, multiple years through present
  •   Florida Legal Elite, multiple years through present
  •   National Trial Lawyers, Top 100 Trial Lawyers, 2012-present
  .   Martindale-Hubbell A V Rating
  e   Chamber USA - Recognized Practitioner, 2017-present
  «   American Society of Legal Advocates
  «   Law A l u m n i Achievement Award, University of Miami, 2017
  •   B. J. Masterson Award for Professionalism, 2017
  .   Matte Belle Davis Award, 2016
  •   Twenty Women i n Law, Daily Business Review, 2015
  e   Most Effective Lawyers, Daily Business Review
             2009, Receiverships
             2009, Finalist, Medical Malpractice
  •   Woman Extraordinaire 2010, South Florida Business Leader
  e   American Association for Justice
             Howard Twiggs Commitment to Justice Award, 2012
             Women's Caucus, Marie Lambert Award, 2008
             Joe Tonahill Award, 2008
             Weideman Wysocki Award (multiple years, 2000-2006)
             Distinguished Service Award, 2005, 2011
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Professional Associations and Appointments

  e American Association for Justice
              President, 2016-2017
              Past Vice President, Secretary, Treasurer, Parliamentarian
              Executive Committee, 2003-2004; 2006-2008; 2010-present
              Past Chair, Women's Caucus
              Past Chair, Product Liability Section
              Past Chair, Voter Protection Action Committee
  • Justice PAC Board of Trustees, 2008-2010
  • Elections Commission, State of Florida
              Commissioner, 2008-2011
  « Miami-Dade Chapter of the Florida Association for Women Lawyers
             PresidenL 2009-2010
             Past President-Elect, Secretary, Treasurer, Newsletter Editor
  • A I E G Board of Directors
  « Summit Council, 2013-present
  . National College of Advocates Board of Trustees, 2003-2008
             Co-Chair, 2007-2009
  • Florida Justice Association
             Board of Directors, 1998-present
             Past Chair, Young Lawyers Division
             Past Chair, Women's Caucus
  • Dade County Bar Association
             Director, 2008-2009
  e M i a m i Dade Justice Association
             Board of Directors, 1998-2002
  • American Bar Association

Selected Presentations

  e Guest Lecturer - FJA (Florida Justice Association) - "Direct Examination at
    Trial", June 15, 2017, St. Petersburg, F L
  e Guest Lecturer - FJA (Florida Justice Association) - FJA Justice Lunch -
    Washington Update, June 15, 2017, St. Petersburg, F L
  » Panel Guest Lecturer - Temple Beth Sholom Scholar i n Residence Weekend -
    "Moral Justice i n our Legal World", March 5, 2017, M i a m i Beach, F L
  e Guest Lecturer - SCAJ (South Carolina Association for Justice) - "Direct
    Examination at Trial", December 2, 2016, Buckhead, GA
  e Guest Lecturer - N J A J (New Jersey Association for Justice) - "The Year of
    the Woman" November 17, 2016, New Jersey, N J
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 Guest Lecturer - Trial A d Seminar - "The Highest Stakes: What this Election
Means for Consumers", October 13, 2016, Minneapolis, M N
 Guest Lecturer - ATLA (Arkansas T r i a l Lawyers Association) - "Direct
Examination", October 7, 2016, Fayetteville, A K
 Guest Lecturer - CTLA (Colorado Trial Lawyers Association) - "Direct
Examination" August 6, 2016, Steamboat Springs, CO.
Guest Lecturer - Belli - "Direct Examination at Trial" July 2016, Los
Angeles, CA
Guest Lecturer - I T L A (Idaho T r i a l Lawyers Association) - "Diversity at the
Table" - Panel, June 17, 2016, Sun Valley, I D
Guest Lecturer - I T L A (Idaho T r i a l Lawyers Association) - "Direct
Examination" June 17, 2016, Sun Valley, I D
Guest Lecturer - New Jersey Association for Justice - "Direct Examination,"
A p r i l 6, 2016, New Jersey, N J
Guest Lecturer - American Association for Justice - "Direct Examination,"
January 22, 2016 - Scottsdale, AZ
Guest Lecturer - Kansas Association for Justice - "Direct Examination,"
December 11, 2015, Kansas City, KS
Guest Lecturer - Consumer Attorneys of California, "Trial Skills: Voir Dire,"
November 6, 2015, San Francisco, CA
Guest Lecturer — Melvin Belli Association, "Lessons Learned from Litigation —
Large & Small," July 12, 2015, Montreal, Canada
Guest Lecturer - American Association for Justice, "Direct Examination,"
July 11, 2015, Montreal, Canada
Guest Lecturer - Wyoming Trial Lawyers Association, "Lessons Learned from
Litigation - Large & Small," June 24, 2015, Cody, WY
Guest Lecturer - Mississippi Association for Justice, "Direct Examination of
Lay Witnesses and Experts at Trial," June 12, 2015, New Orleans, L A
Guest Lecturer - Florida Justice Association, "What's Happening i n DC:
Federal Legislation," October 21, 2015, Sarasota, F L .
Guest Lecturer - Kentucky Justice Association, "Trucking Accidents Proof of
Damages," September 11, 2014, Cincinnati, OH
Guest Lecturer - Melvin Belli Association, "Racetrack Injuries: The Good, Bad
and Ugly," July 25, 2014, Baltimore, M D
Guest Lecturer - National Structured Settlements Trade Association National
Meeting, "Federal Update," A p r i l 2, 2014, Orlando, F L
Guest Lecturer - Tennessee Association for Justice, "Wrongful Death Damage
Issues i n Trucking Cases," October 11, 2013, Nashville, T N
Guest Lecturer - Florida Justice Association, "Proof and Argument of
Damages i n Wrongful Death," February 20, 2013, Orlando, F L
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 Guest Lecturer - American Association for Justice Women Trial Lawyer
 Caucus, "Changing or Expanding your Practice," July 27, 2012, Chicago, I L
Guest Lecturer - Consumer Attorneys of California, "Trial Strategies
Openings and Closings," November 10, 2011, San Francisco, CA
Guest Lecturer - American Association for Justice, "Obtaining Full Justice for
Your Client i n the Era of Tort Reform," A p r i l 9, 2010, Las Vegas, N V
Guest Lecturer - American Association for Justice, "Chinese Drywall,"
September 26, 2009, Las Vegas, N V
Guest Lecturer - Connecticut T r i a l Lawyers Association, "Nice Girls Do Get
Paid - How to Ask for and Get the Money at Mediation," A p r i l 8, 2011,
Orange, CT
Guest Lecturer - American Association for Justice Women Trial Lawyers
Caucus, "Being Superwoman, Perspectives i n Balancing Career and Family,"
July 9, 2010, Vancouver
Guest Lecturer - American Association for Justice, "15 Passenger Vans: Isn't
a Mini-Van Big Enough?" May 1, 2008, New Orleans, L A
Guest Lecturer - Louisiana Association for Justice, "Handling the
Investigation of a Potential Crashworthiness Case," December 14, 2007, New
Orleans, L A
Guest Lecturer - Consumer Attorneys of California, "Case Evaluation: How to
Pick a Winner," November 9, 2007, San Francisco, CA
Guest Lecturer - American Association for Justice, "Civility: It's Not a Sign of
Weakness," July 2007, Chicago, I L
Guest Lecturer - Florida Justice Association, "The Paralegals Role from
Mediation to Trial," June 14, 2007, Palm Beach, F L
Guest Lecturer - American Trial Lawyers Association, "How Discovery
Techniques Can A i d i n Settlement and i n Providing Damages," July 2004,
Boston, M A
Guest Lecturer - Academy of Florida Trial Lawyers, "Effective Drafting of
Proposals for Settlement," November 2003, Ft. Lauderdale, F L
Guest Lecturer - Association for Trial Lawyers of America, "Restatement of
Torts Third: Do You Have to Dealt W i t h it? A State by State Analysis," July
23, 2002, Atlanta, GA
Guest Lecturer - American Trial Lawyers Association Women Trial Lawyers
Caucus, "Keeping Your Stamina Up for the Long Haul," July 22, 2002,
Atlanta, GA
Guest Lecturer - Academy of Florida Trial Lawyers, "Legislative and Case
Law Update: Evidence and Civil Procedure," June 2003, St. Petersburg, F L
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Selected Writings

  •   "Direct Examination" chapter i n Anatomy of a Personal Injury
      Lawsuit. Portland, OR: Trial Guides, L L C 2015. Print. Author.
  •   Johnson, Raymond Paul., and Mike Eidson. Defective Product: Evidence to
      Verdict. Charlottesville, VA: Michie, 1995. Print. Assisted w i t h research and
      writing.
